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                           IN THE UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                      AUSTIN DIVISION

LORILEE MERANDA ROBINSON,                                 §
                                                          §
        Plaintiff,                                        §
                                                          §
v.                                                        §      CIVIL ACTION NO. 1:21-cv-00642-LY
                                                          §
NATIONWIDE RECOVERY                                       §
SYSTEMS, LTD.,                                            §
                                                          §
        Defendant.                                        §

                                       NOTICE OF SETTLEMENT

TO THE CLERK OF SAID COURT:

        NOTICE IS HEREBY GIVEN that the parties in the above-captioned case have reached

a settlement. The parties anticipate filing a stipulation of dismissal of this action with prejudice

pursuant to FED. R. CIV. P. 41(a) within sixty (60) days.

        DATED this 19th day of October 2021.

                                                              Respectfully submitted,

                                                              By: /s/ A. Lee Rigby
                                                                      A. Lee Rigby
                                                                        State Bar No. 24029796
                                                                      William A. Duncan
                                                                         State Bar No. 24124453

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                                                              ATTORNEYS FOR DEFENDANT




_____________________________________________________________________________________________________________________
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                                      CERTIFICATE OF SERVICE

       By my signature today, I hereby certify that on October 19, 2021, the foregoing was filed
with the Court using the CM/ECF system. This filing will also be sent by mail to:

                                          Via First Class U.S. Mail
                                         Lorilee Meranda Robinson
                                        3000 Kramer Lane, Apt. 1340
                                              Austin, TX 78758
                                               Pro Se Plaintiff




_____________________________________________________________________________________________________________________
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